
12 Ill. App.3d 808 (1973)
299 N.E.2d 57
THE CITY OF CHICAGO, Plaintiff-Appellee,
v.
HARRIS TRUST &amp; SAVINGS BANK et al., Defendants-Appellants.
No. 58727.
Illinois Appellate Court  First District (1st Division).
June 7, 1973.
Sheldon O. Zisook and Avrum Reifer, both of Chicago, for appellants.
Richard L. Curry, Corporation Counsel, of Chicago, for appellee.
Robert L. Graham, of Jenner &amp; Block, of Chicago, for intervenors-appellants.
Abstract of Decision.
Reversed and remanded.
